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    1   MARK POE (Bar No. 223714)
         mpoe@gawpoe.com
    2   RANDOLPH GAW (Bar No. 223718)
    3    rgaw@gawpoe.com
        SAMUEL SONG (Bar No. 245007)
    4    ssong@gawpoe.com
        VICTOR MENG (Bar No. 254102)
    5    vmeng@gawpoe.com
    6
        GAW | POE LLP
        4 Embarcadero, Suite 1400
    7   San Francisco, CA 94111
        Telephone: (415) 766-7451
    8   Facsimile: (415) 737-0642
    9   Attorneys for Defendant Roma Mikha, Inc.
        and Third-Party Plaintiffs NMRM, Inc.
   10   and Skyline Market, Inc.
   11

   12
                           UNITED STATES DISTRICT COURT

   13
                         SOUTHERN DISTRICT OF CALIFORNIA

   14
        IN RE: OUTLAW LABORATORY,             Case No. 3:18-cv-840-GPC-BGS
   15
        LP LITIGATION
   16                                         DECLARATION OF MARK POE IN
   17
                                              SUPPORT OF THE STORES’ AND
                                              OUTLAW’S JOINT
   18                                         SUPPLEMENTAL RESPONSE RE:
                                              DIAZ NOTICE
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                                                               POE DECL. ISO JOINT RESP.
                                                            CASE NO. 3:18-CV-840-GPC-BGS
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    1   I, Mark Poe, declare as follows:
    2         1.     I am a partner in the law firm of Gaw | Poe LLP, counsel of record for
    3   Defendant Roma Mikha, Inc. and Third-Party Plaintiffs NMRM, Inc., Skyline
    4   Market, Inc. (the “Stores”), and 25 other defendants in the above-captioned case. I
    5   submit this declaration in opposition to Tauler Smith’s motion to modify the case
    6   schedule. If called to testify at a hearing or trial, I could and would testify to the
    7   following, which is based on my personal knowledge.
    8         2.     As I explained to Tauler Smith’s counsel in prior meet and confer
    9   correspondence and in a telephone call on this issue on September 18, 2020, the entire
   10   amount of the Outlaw settlement remains in our firm’s IOLTA trust account.
   11   Attached as Exhibit A hereto is a true and correct email exchange that I had with Mr.
   12   Sergenian on September 18 documenting that fact. The last page of Exhibit A
   13   includes a screenshot from our firm’s billing software showing that the amount
   14   remains in the “matter trust funds.”     The amount is redacted in Exhibit A in
   15   conformance with the “Confidential” designation of the settlement pursuant to the
   16   protective order, but of course the version I sent to Mr. Sergenian was unredacted.
   17         3.     Attached as Exhibit B hereto is a true and correct copy of a document
   18   produced by Outlaw Laboratory in this litigation as Outlaw Supplemental Production
   19   003724. It shows the amount of money that was paid to the “Capture Group.” Per
   20   statements made to me by Mr. Wear and Mr. Reagan, I understand that the “Capture
   21   Group” was the vendor Tauler Smith engaged to mail the demand letters. As shown,
   22   the total amount invoiced and paid was $162,722.65.
   23         I declare under penalty of perjury under the laws of the United States and the
   24   state of California that the foregoing is true and correct. Executed on October 8,
   25   2020, at Novato, California.
   26                                                       s/ Mark Poe
   27                                                       Mark W. Poe
   28
                                                                        POE DECL. ISO JOINT RESP.
                                                   1                 CASE NO. 3:18-CV-840-GPC-BGS
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    1                            CERTIFICATE OF SERVICE
    2                            Case No. 3:18-cv-840-GPC-BGS
    3         I HEREBY CERTIFY that on the date stamped in the header above, I filed
    4   the following documents with the Clerk of the Court using CM/ECF. I also certify
    5   that the following document is being served this day either by Notice of Electronic
    6   Filing generated by CM/ECF or by U.S. mail on all counsel of record entitled to
    7   receive service.
    8
          DECLARATION OF MARK POE IN SUPPORT OF THE STORES’ AND
    9     OUTLAW’S JOINT SUPPLEMENTAL RESPONSE RE: DIAZ NOTICE
   10

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                                                      GAW | POE LLP
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   14                                                 By:
                                                            Mark Poe
   15                                                       Attorneys for the Stores

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